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11
                               UNITED STATES DISTRICT COURT
12                            CENTRAL DISTRICT OF CALIFORNIA
                                    SOUTHERN DIVISION
13
     JONATHAN SMITH,                             Case No.
14   individually and on behalf of all others
     similarly situated,                         CLASS ACTION
15
                 Plaintiff,                      COMPLAINT FOR VIOLATIONS
16                                               OF THE TELEPHONE
     vs.                                         CONSUMER PROTECTION
17                                               ACT, 47 U.S.C. §§ 227, ET SEQ.
     ZIP CAPITAL GROUP, LLC, a                   (TCPA)
18   California limited liability company,
19               Defendant.                      JURY TRIAL DEMANDED
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                                     CLASS ACTION COMPLAINT
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 1                              CLASS ACTION COMPLAINT
 2          1.     Plaintiff, Jonathan Smith, brings this action against Defendant, Zip Capital
 3   Group, LLC, to secure redress for violations of the Telephone Consumer Protection
 4   Act (“TCPA”), 47 U.S.C. § 227.
 5                               NATURE OF THE ACTION
 6          2.     This is a putative class action pursuant to the Telephone Consumer
 7   Protection Act, 47 U.S.C. §§ 227, et seq. (the “TCPA”).
 8          3.     Defendant is a finance lender servicing small and medium-sized
 9   businesses in various industries across the United States. To promote its services,
10   Defendant engages in aggressive unsolicited marketing, harming thousands of
11   consumers in the process.
12          4.     Through this action, Plaintiff seeks injunctive relief to halt Defendant’s
13   illegal conduct, which has resulted in the invasion of privacy, harassment, aggravation,
14   and disruption of the daily life of thousands of individuals. Plaintiff also seeks statutory
15   damages on behalf of himself and members of the Class, and any other available legal
16   or equitable remedies.
17                              JURISDICTION AND VENUE
18          5.     This Court has federal question subject matter jurisdiction over this action
19   pursuant to 28 U.S.C. § 1331, as the action arises under the Telephone Consumer
20   Protection Act, 47 U.S.C. §§ 227, et seq. (“TCPA”).
21          6.     The Court has personal jurisdiction over Defendant and venue is proper
22   in this District because Defendant directs, markets, and provides its business activities
23   to this District, and because Defendant’s unauthorized marketing scheme was directed
24   by Defendant to consumers in this District.
25                                           PARTIES
26          7.     Plaintiff is a natural person who, at all times relevant to this action, was a
27   resident of Grand Traverse County, Michigan.
28                                           2
                                  CLASS ACTION COMPLAINT
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 1          8.     Defendant is a California company whose principal office is located at 26
 2   Executive Park, Suite 100, Irvine, California 92614. Defendant directs, markets, and
 3   provides its business activities throughout the United States, including throughout the
 4   state of California.
 5          9.     Unless otherwise indicated, the use of Defendant’s name in this
 6   Complaint includes all agents, employees, officers, members, directors, heirs,
 7   successors, assigns, principals, trustees, sureties, subrogees, representatives, vendors,
 8   and insurers of Defendant.
 9                                        THE TCPA
10          10.    The TCPA prohibits: (1) any person from calling a cellular telephone
11   number; (2) using an automatic telephone dialing system; (3) without the recipient’s
12   prior express consent. 47 U.S.C. § 227(b)(1)(A).
13          11.    The TCPA defines an “automatic telephone dialing system” (“ATDS”) as
14   “equipment that has the capacity - (A) to store or produce telephone numbers to be
15   called, using a random or sequential number generator; and (B) to dial such numbers.”
16   47 U.S.C. § 227(a)(1).
17          12.    The TCPA exists to prevent communications like the ones described
18   within this Complaint. “Voluminous consumer complaints about abuses of telephone
19   technology—for example, computerized calls dispatched to private homes—prompted
20   Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744
21   (2012).
22          13.    In an action under the TCPA, a plaintiff must only show that the
23   defendant “called a number assigned to a cellular telephone service using an automatic
24   dialing system or prerecorded voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d
25   1316, 1319 (S.D. Fla. 2012), aff'd, 755 F.3d 1265 (11th Cir. 2014).
26          14.    The Federal Communications Commission (“FCC”) is empowered to
27   issue rules and regulations implementing the TCPA. According to the FCC’s findings,
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                                  CLASS ACTION COMPLAINT
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 1   calls in violation of the TCPA are prohibited because, as Congress found, automated
 2   or prerecorded telephone calls are a greater nuisance and invasion of privacy than live
 3   solicitation calls, and such calls can be costly and inconvenient. The FCC also
 4   recognized that wireless customers are charged for incoming calls whether they pay in
 5   advance or after the minutes are used. Rules and Regulations Implementing the Telephone
 6   Consumer Protection Act of 1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd
 7   14014 (2003).
 8          15.    In 2012, the FCC issued an order tightening the restrictions for automated
 9   telemarketing calls, requiring “prior express written consent” for such calls to wireless
10   numbers. See In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of
11   1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (Feb. 15, 2012) (emphasis supplied).
12          16.    To obtain express written consent for telemarketing calls, a defendant
13   must establish that it secured the plaintiff’s signature in a form that gives the plaintiff a
14   “‘clear and conspicuous disclosure’ of the consequences of providing the requested
15   consent….and having received this information, agrees unambiguously to receive such
16   calls at a telephone number the [plaintiff] designates.” In re Rules & Regulations
17   Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1837 ¶ 18, 1838 ¶ 20,
18   1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).
19          17.    The TCPA regulations promulgated by the FCC define “telemarketing”
20   as “the initiation of a telephone call or message for the purpose of encouraging the
21   purchase or rental of, or investment in, property, goods, or services.” 47 C.F.R. §
22   64.1200(f)(12). In determining whether a communication constitutes telemarketing, a
23   court must evaluate the ultimate purpose of the communication. See Golan v. Veritas
24   Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).
25          18.    “Neither the TCPA nor its implementing regulations ‘require an explicit
26   mention of a good, product, or service’ where the implication of an improper purpose
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                                   CLASS ACTION COMPLAINT
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 1   is ‘clear from the context.’” Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918
 2   (9th Cir. 2012)).
 3          19.    “‘Telemarketing’ occurs when the context of a call indicates that it was
 4   initiated and transmitted to a person for the purpose of promoting property, goods, or
 5   services.” Golan, 788 F.3d at 820 (citing 47 C.F.R. § 64.1200(a)(2)(iii); 47 C.F.R. §
 6   64.1200(f)(12); In re Rules and Regulations Implementing the Telephone Consumer Protection Act
 7   of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003 WL 21517853, at *49).
 8          20.    The FCC has explained that calls motivated in part by the intent to sell
 9   property, goods, or services are considered telemarketing under the TCPA. See In re
10   Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd.
11   14014, ¶¶ 139-142 (2003). This is true whether call recipients are encouraged to
12   purchase, rent, or invest in property, goods, or services during the call or in the future. Id.
13          21.    In other words, offers “that are part of an overall marketing campaign to
14   sell property, goods, or services constitute” telemarketing under the TCPA. See In re
15   Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd.
16   14014, ¶ 136 (2003).
17          22.    If a call is not deemed telemarketing, a defendant must nevertheless
18   demonstrate that it obtained the plaintiff’s prior express consent. See In the Matter of
19   Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961,
20   7991-92 (2015) (requiring express consent “for non-telemarketing and non-advertising
21   calls”).
22          23.    As recently held by the United States Court of Appeals for the Ninth
23   Circuit: “Unsolicited telemarketing phone calls or text messages, by their nature, invade
24   the privacy and disturb the solitude of their recipients. A plaintiff alleging a violation
25   under the TCPA ‘need not allege any additional harm beyond the one Congress has
26   identified.’” Van Patten v. Vertical Fitness Grp., No. 14-55980, 2017 U.S. App. LEXIS
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                                   CLASS ACTION COMPLAINT
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 1   1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1549
 2   (2016) (emphasis original)).
 3                                  FACTUAL ALLEGATIONS
 4          24.    On or about March 3, 2020, Defendant caused an automated
 5   telemarketing call with a prerecorded message to be transmitted to Plaintiff’s cellular
 6   telephone number ending in 1588 (the “1588 Number”):
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22          25.    The prerecorded call at issue was transmitted to Plaintiff’s cellular
23   telephone, and within the time frame relevant to this action.
24          26.    When Plaintiff listened to the call he was easily able to determine that it
25   was a prerecorded message. Rahn v. Bank of Am., No. 1:15-CV-4485-ODE-JSA, 2016
26   U.S. Dist. LEXIS 186171, at *10-11 (N.D. Ga. June 23, 2016) (“When one receives a
27   call, it is a clear-cut fact, easily discernible to any lay person, whether or not the recipient
28                                             6
                                    CLASS ACTION COMPLAINT
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 1   is speaking to a live human being, or is instead being subjected to a prerecorded
 2   message.”).
 3          27.    Defendant’s prerecorded call constitutes telemarketing because it
 4   encouraged the future purchase or investment in property, goods, or services, i.e.,
 5   offering Plaintiff a business loan.
 6          28.    The prerecorded calls Plaintiff received originated from telephone
 7   number 610-549-1961, a telephone number owned and/or operated by or on behalf of
 8   Defendant.
 9          29.    Upon information and belief, Defendant caused other prerecorded calls
10   to be sent to individuals residing within this judicial district.
11          30.    At no point in time did Plaintiff provide Defendant with his express
12   written consent to be contacted with a prerecorded call.
13          31.    Plaintiff is the subscriber and sole user of the 1588 Number and is
14   financially responsible for phone service to the 1588 Number.
15          32.    Plaintiff has been registered with the national do not call registry since
16   December 1, 2004.
17          33.    Defendant’s unsolicited prerecorded call caused Plaintiff actual harm,
18   including invasion of his privacy, aggravation, annoyance, intrusion on seclusion,
19   trespass, and conversion. Defendant’s prerecorded call also inconvenienced Plaintiff
20   and caused disruption to his work-day as he received the prerecorded messages while
21   at work. See Patriotic Veterans, Inc. v. Zoeller, No. 16- 2059, 2017 WL 25482, at *2 (7th Cir.
22   Jan. 3, 2017) (“Every call uses some of the phone owner's time and mental energy, both
23   of which are precious.”).
24          34.    Defendant’s unsolicited prerecorded call caused Plaintiff actual harm.
25   Specifically, Plaintiff estimates that he has wasted fifteen minutes reviewing
26   Defendant’s unwanted message. Each time, Plaintiff had to stop what he was doing to
27   either retrieve his phone and/or look down at the phone to review the message.
28                                            7
                                   CLASS ACTION COMPLAINT
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 1          35.       Next, Plaintiff wasted approximately twenty minutes locating and
 2   retaining counsel for this case in order to stop Defendant’s unwanted calls.
 3          36.       In all, Defendant’s violations of the TCPA caused Plaintiff to waste at
 4   least thirty-five minutes of his time in addressing and attempting to stop Defendant’s
 5   solicitations.
 6                                     CLASS ALLEGATIONS
 7          PROPOSED CLASS
 8          37.       Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23,
 9   on behalf of himself and all others similarly situated.
10          38.       Plaintiff brings this case on behalf of the Class defined as follows:
11                    No Consent Class: All persons within the United
                      States who, within the four years prior to the filing
12                    of this Complaint, were sent a call using an artificial
                      or prerecorded voice, from Defendant or anyone on
13                    Defendant’s behalf, to said person’s cellular
                      telephone number, without emergency purpose and
14                    without the recipient’s prior express written
                      consent.
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16          39.       Defendant and its employees or agents are excluded from the Class.
17   Plaintiff does not know the number of members in the Class but believes the Class
18   members number in the several thousands, if not more.
19          NUMEROSITY
20          40.       Upon information and belief, Defendant has placed automated calls to
21   cellular telephone numbers belonging to thousands of consumers throughout the
22   United States without their prior express consent. The members of the Class, therefore,
23   are believed to be so numerous that joinder of all members is impracticable.
24          41.       The exact number and identities of the members of the Class are unknown
25   at this time and can only be ascertained through discovery. Identification of the Class
26   members is a matter capable of ministerial determination from Defendant’s call records.
27          COMMON QUESTIONS OF LAW AND FACT
28                                              8
                                     CLASS ACTION COMPLAINT
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 1            42.   There are numerous questions of law and fact common to members of
 2   the Class which predominate over any questions affecting only individual members of
 3   the Class. Among the questions of law and fact common to the members of the Class
 4   are:
 5                  a) Whether Defendant made non-emergency prerecorded telemarketing
 6                     calls to Plaintiff’s and Class members’ cellular telephones;
 7                  b) Whether Defendant can meet its burden of showing that it obtained
 8                     prior express written consent to make such calls;
 9                  c) Whether Defendant’s conduct was knowing and willful;
10                  d) Whether Defendant is liable for damages, and the amount of such
11                     damages; and
12                  e) Whether Defendant should be enjoined from such conduct in the
13                     future.
14            43.   The common questions in this case are capable of having common
15   answers. If Plaintiff’s claim that Defendant routinely transmits prerecorded messages
16   to telephone numbers assigned to cellular telephone services is accurate, Plaintiff and
17   the Class members will have identical claims capable of being efficiently adjudicated
18   and administered in this case.
19            TYPICALITY
20            44.   Plaintiff’s claims are typical of the claims of the Class members, as they
21   are all based on the same factual and legal theories.
22            PROTECTING THE INTERESTS OF THE CLASS MEMBERS
23            45.   Plaintiff is a representative who will fully and adequately assert and protect
24   the interests of the Class, and has retained competent counsel. Accordingly, Plaintiff is
25   an adequate representative and will fairly and adequately protect the interests of the
26   Class.
27            PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE
28                                            9
                                   CLASS ACTION COMPLAINT
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 1          46.       A class action is superior to all other available methods for the fair and
 2    efficient adjudication of this lawsuit, because individual litigation of the claims of all
 3    members of the Class is economically unfeasible and procedurally impracticable. While
 4    the aggregate damages sustained by the Class are in the millions of dollars, the individual
 5    damages incurred by each member of the Class resulting from Defendant’s wrongful
 6    conduct are too small to warrant the expense of individual lawsuits. The likelihood of
 7    individual Class members prosecuting their own separate claims is remote, and, even if
 8    every member of the Class could afford individual litigation, the court system would be
 9    unduly burdened by individual litigation of such cases.
10           47.      The prosecution of separate actions by members of the Class would create
11    a risk of establishing inconsistent rulings and/or incompatible standards of conduct for
12    Defendant. For example, one court might enjoin Defendant from performing the
13    challenged acts, whereas another may not. Additionally, individual actions may be
14    dispositive of the interests of the Class, although certain class members are not parties
15    to such actions.
16                                            COUNT I
                             Violations of the TCPA, 47 U.S.C. § 227(b)
17                             (On Behalf of Plaintiff and the Class)
18          48.       Plaintiff re-alleges and incorporates the foregoing allegations as if fully set
19    forth herein.
20          49.       It is a violation of the TCPA to make “any call (other than a call made for
21    emergency purposes or made with the prior express consent of the called party) using
22    any automatic telephone dialing system … to any telephone number assigned to a …
23    cellular telephone service ….” 47 U.S.C. § 227(b)(1)(A)(iii).
24          50.       Defendant–or third parties directed by Defendant–used equipment
25    having the capacity to dial numbers without human intervention to make non-
26    emergency telephone calls to the cellular telephones of Plaintiff and the other members
27    of the Class defined below.
28                                              10
                                     CLASS ACTION COMPLAINT
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 1          51.       These calls were made without regard to whether or not Defendant had
 2    first obtained express permission from the called party to make such calls. In fact,
 3    Defendant did not have prior express consent to call the cell phones of Plaintiff and
 4    the other members of the putative Class when its calls were made.
 5          52.       Defendant has, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by
 6    using an automatic telephone dialing system to make non-emergency telephone calls to
 7    the cell phones of Plaintiff and the other members of the putative Class without their
 8    prior express written consent.
 9          53.       Defendant knew that it did not have prior express consent to make these
10    calls, and knew or should have known that it was using equipment that at constituted
11    an automatic telephone dialing system. The violations were therefore willful or
12    knowing.
13          54.       As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the
14    TCPA, Plaintiff and the other members of the putative Class were harmed and are each
15    entitled to a minimum of $500.00 in damages for each violation. Plaintiff and the
16    members of the Class are also entitled to an injunction against future calls. Id.
17                                    COUNT II
             Knowing and/or Willful Violation of the TCPA, 47 U.S.C. § 227(b)
18                       (On Behalf of Plaintiff and the Class)
19          55.       Plaintiff re-alleges and incorporates the foregoing allegations as if fully set
20    forth herein.
21          56.       At all times relevant, Defendant knew or should have known that its
22    conduct as alleged herein violated the TCPA.
23          57.       Defendant knew that it did not have prior express consent to make these
24    calls, and knew or should have known that its conduct was a violation of the TCPA.
25          58.       Because Defendant knew or should have known that Plaintiff and Class
26    Members had not given prior express consent to receive its autodialed calls, the Court
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 1    should treble the amount of statutory damages available to Plaintiff and the other
 2    members of the putative Class pursuant to § 227(b)(3) of the TCPA.
 3           59.      As a result of Defendant’s violations, Plaintiff and the Class Members are
 4    entitled to an award of $1,500.00 in statutory damages, for each and every violation,
 5    pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 6                                     PRAYER FOR RELIEF
 7           WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the
 8    following relief:
 9                 a) An order certifying this case as a class action on behalf of the Class as
10                    defined above, and appointing Plaintiff as the representative of the Class
11                    and Plaintiff’s counsel as Class Counsel;
12                 b) An award of actual and statutory damages for Plaintiff and each member
13                    of the Class;
14                 c) As a result of Defendant’s negligent violations of 47 U.S.C. §§ 227, et seq.,
15                    Plaintiff seeks for himself and each member of the Class $500.00 in
16                    statutory damages for each and every violation pursuant to 47 U.S.C. §
17                    277(b)(3)(B);
18                 d) As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
19                    §§ 227, et seq., Plaintiff seeks for himself and each member of the Class
20                    treble damages, as provided by statute, up to $1,500.00 for each and every
21                    violation pursuant to 47 U.S.C. § 277(b)(3)(B) and § 277(b)(3)(C);
22                 e) An order declaring that Defendant’s actions, as set out above, violate the
23                    TCPA;
24                 f) An injunction prohibiting Defendant from using an artificial or
25                    prerecorded voice to contact telephone numbers assigned to cellular
26                    telephones without the prior express permission the called party;
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 1              g) An award of reasonable attorneys’ fees and costs pursuant to, inter alia,
 2                 California Code of Civil Procedure § 1021.5; and
 3              h) Such further and other relief as the Court deems necessary.
 4                                      JURY DEMAND
 5            Plaintiff hereby demands a trial by jury.
 6
                        DOCUMENT PRESERVATION DEMAND
 7
            Plaintiff demands that Defendant take affirmative steps to preserve all records,
 8
 9    lists, electronic databases or other itemizations associated with the allegations herein,
10    including all records, lists, electronic databases or other itemizations in the possession
11
      of any vendors, individuals, and/or companies contracted, hired, or directed by
12

13    Defendant to assist in sending the alleged communications.
14
      Dated: January 14, 2021                  Respectfully submitted,
15

16
                                           By: _/s/ Joshua Moyer_
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